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UNITED STATES DISTRICT COURT F | L. E D
MIDDLE DISTRICT OF FLORIDA 1B JUN 1h PH 12:58

ORLANDO DIVISION
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MIDDLE Di
UNITED STATES OF AMERICA ORE OO FLORIDA L
v. CASE NO. 6:23-c1- ((-CEM-VP
18 U.S.C. § 1542
NILDA MEDINA-VEGUILLA 18 U.S.C. § 1028A(a)(1)
INDICTMENT
The Grand Jury charges:
COUNT ONE

False Statements in Application for a United States Passport

On or about February 23, 2021, in the Middle District of Florida, and

elsewhere, the defendant,
NILDA MEDINA-VEGUILLA,

did willfully and knowingly make a false statement in an application for a passport
with the intent to induce and secure the issuance of a passport under the authority of
the United States for her own use, contrary to the laws regulating the issuance of
such passports and the rules prescribed pursuant to such laws, in that in such
passport application the defendant stated that the name, date of birth, and social
security number used in the passport application were her own, when defendant then
and there knew such statements to be false.

In violation of 18 U.S.C. § 1542.
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COUNT TWO
Aggravated Identity Theft

On or about February 23, 2021, in the Middle District of Florida, and

elsewhere, the defendant,
NILDA MEDINA-VEGUILLA,

did knowingly possess and use, without lawful authority, a means of identification of
another person, specifically, the name, date of birth and social security number of
N.T.D., during and in relation to a felony violation of passport fraud, in violation of
18 U.S.C § 1542, as charged in Count One of this Indictment, knowing that such
means of identification belonged to an actual person.

In violation of 18 U.S.C. § 1028A(a)(1).

FORFEITURE
1. The allegations contained in Count One are incorporated by reference
for the purpose of alleging forfeiture pursuant to 18 U.S.C. § 982(a)(6).
2. Upon conviction of 18 U.S.C. § 1542, the defendant shall forfeit to the
United States, pursuant to 18 U.S.C. § 982(a)(6):

a. any conveyance, including any vessel, vehicle, or aircraft used in
the commission of the offense;

b. any property, real or personal, that constitutes, is derived from,
or is traceable to the proceeds obtained directly or indirectly from
the commission of the offense; and

Cc. any property that is used or intended to be used to facilitate the
commission of the offense.
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3. If any of the property described above, as a result of any act or omission

of the defendant:

a: cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;
c, has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be

divided without difficulty,
the United States shall be entitled to forfeiture of substitute property pursuant to 21

U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1).

A TRUE BILL,

   

Oreperson

ROGER B. HANDBERG
United States Attorney

By: GOL oe
Rachel S. Lyons
Special Assistant United States Attorney

py: LALO LE

Michael P. Felicetta
Assistant United States Attorney
Chief, Orlando Division
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FORM OBD-34
APR 1991 No.
UNITED STATES DISTRICT COURT
Middle District of Florida
Orlando Division
THE UNITED STATES OF AMERICA
NILDA MEDINA-VEGUILLA
INDICTMENT
Violations:
18 U.S.C. § 1542
18 U.S.C. § 1028A(a)(1)
A true bill
Foreperson

 

 

Filed in open court this 14" day of June, 2023.

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Clerk 7 %

 

Bail $

 

 

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